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V.                                                2255 FIN A L O R D ER

SEA N AN TO N IO R O BE RT SO N .                 By:Sam uelG .W ilson
                                                  United States D istrictJudge

       Forthe reasonsstated in the accom panying M em orandum Opinion,itishereby

                                O R DER ED and AD JU D G ED

thatRobertson's28U.S.C.j2255motion (DocketNo.265)isDISM ISSED withoutprejudice
assuccessive;and this case is hereby STRIC K EN from the active docketofthe court.

       Further,finding thatRobertson hasfailed to m ake the requisite substantialshow ing ofthe

denialofaconstitutionalrightasrequiredby 28U.S.C.j2253(c),acertitkateofappealabilityis
D EN IED .

       The Clerk is directed to send copies ofthis O rder and the accom panying M em orandum

Opinion to the parties.

       ENTER:ThisXY dayofAugust,2012.                               Z


                                                   Uni    StatesD istrictJudge
